                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                     JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                         CASE NO. 3:23-cr-122-MMH-MCR

NEAL BRIJ SIDHWANEY

                                           Defense Atty.: KATHRYN E SHELDON
                                                         AUSA: KIRWINN MIKE

 JUDGE:        Monte C. Richardson     DATE AND TIME           December 15, 2023
               U.S. Magistrate Judge                         10:34 AM – 10:50 AM
                                                                    26 MINUTES

 DEPUTY        Sharon Spaulding        TAPE/REPORTER         Digital
 CLERK:
 INTERPRETER    None Required          PRETRIAL/PROBATION    NONE PRESENT



                            CLERK’S MINUTES

PROCEEDINGS:            Change of Plea Hearing

Defendant placed under oath.

Defendant enters plea of guilty to Count One of the Indictment.

Court finds Defendant alert, intelligent and willingly entered plea of guilty.

Parties agree to waive 14 day objection period to Report and
Recommendation.

Order of Detention previously entered shall remain in effect.

Report and Recommendation to enter.

Sentencing to be set by District Judge.
FILED IN OPEN COURT:
NOTICE re: Entry of a Plea of Guilty
NOTICE OF MAXIMUM PENALTIES




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